Case 2:03-cr-20350-SH|\/| Document 69 Filed 08/26/05 Page 1 of 2 Page|D 104

IN THE UNITED STATES DISTRICT coURT nw EY~--%~_~M
FOR THE wEsTERN DISTRICT oF TENNESSEE

 

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UNITED STATES oF AMERICA, aEvE£D%’S:M:°)TR!CTUBT
vS. NO. 03-20350-Ma

SYLVESTER BUTLER,

Defendant.

 

CORRECTING ORDER

 

The court entered an order on August 17, 2005, resetting the
Sentencing of the defendant. The order stated the wrong date.
The correct date of the Sentencing is Wednesday, September 28,
2005, at 1:30 p.m.

{
1’ day of August, 2005.

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SAMUEL H. MAYS, JR.
U'NITED STA'I‘ES DISTRICT JUDGE

It is So ORDERED this

 

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Th‘rs doc\.ment entered on the docket Sh tim come
with H.\le 55 and,for 32¢\;)) FRCrP on j _ ¢_SQ'_.Q§

   

UNITED TATESDTISRIC COURT - WESTERN D"RITICT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 69 in
case 2:03-CR-20350 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

